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                           UNITED STATES DISTRICT COURT
                                     FOR THE
                            NORTHER DISTRICT OF OHIO


TIERRA ALEXANDER,                           )
                                            )
              Plaintiff,                    )
                                            )
              v.                            ) Case No.: 1:15-cv-02696-DAP
                                            )
MEDICREDIT, INC,                            )
                                            )
              Defendant.                    )
                                            )
                                            )

                               NOTICE OF SETTLEMENT


TO THE CLERK:

              NOTICE IS HEREBY GIVEN that the parties in the above-captioned case

have reached a settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41(a) within sixty (60) days .




Dated: May 2, 2016                        BY: /s/ Amy L. Bennecoff Ginsburg
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                                     Certificate of Service

       I hereby certify that on this 2nd day of May, 2016, a true and correct copy of the foregoing

pleading served via ECF to the below:


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